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                    Exhibit 29
         to Declaration of Rachel Doughty
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Authorization ID: FCD728502
Contact Name: BLUETRITON BRANDS, INC.
Expiration Date: 08/24/2022
Use Code: 915, 914, 931, 715, 753
                                                                                                       FS-2700-4 (VER. 03/17)
                                                                                                             OMB 0596-0082

                                         U.S. DEPARTMENT OF AGRICULTURE
                                                  FOREST SERVICE


                                                  SPECIAL USE PERMIT

                                                 AUTHORITY:
                                    ORGANIC ADMINISTRATION ACT June 4, 1897,
                                    FEDERAL LAND POLICY AND MGMT ACT, AS
                                           AMENDED October 21, 1976


BLUETRITON BRANDS, INC. of 900 LONG RIDGE ROAD BLDG #2 STAMFORD CT USA 06902; l o c a l l y o f
5 7 7 2 J U R U P A S T R E E T ; (hereinafter "the holder") is authorized to use or occupy National Forest System lands
in the SAN BERNARDINO NATIONAL FOREST, Front Country Ranger District, of the National Forest System, subject
to the terms and conditions of this special use permit (the
permit).

This permit covers 4.57 acres or 4.61 miles in the SE1/4 SE1/4 Sec. 1, T. 1 N., R. 4 W., SAN BERNARDINO MERIDIAN,
Sec. 31, T. 2 N., R. 3 W., SAN BERNARDINO MERIDIAN, Sec. 6, T. 1 N., R. 3 W., SAN BERNARDINO MERIDIAN,
Sec. 30, T. 2 N., R. 3 W., SAN BERNARDINO MERIDIAN, NE1/4 Sec. 12, T. 1 N., R. 4 W., SAN BERNARDINO
MERIDIAN, ("the permit area"), as shown on the map attached as Appendix A. This and any other appendices to this
permit are hereby incorporated into this permit.

This permit issued for the purpose of:

Operating and maintaining a water collection as well as transmission system that consists of tunnels #2 and 3, horizontal
wells 1,1A, 7, 7A, 7B, 7C, 8, 10, 11, 12 and their associated vaults, connected through 4.5 miles of 4" pipeline. This
permit also authorizes the operation and maintenance of four helicopter landing areas, 5 stream gauge/ monitoring
stations with telemetry for data transmission, and 5.7 miles of access trail (4.5 miles of trail is along the pipeline). This
permit also authorizes administrative access along Forest Service road 1N24 and maintenance of said road
commensurate with use.

See terms and conditions for exact permitted use. The CA State Water Board enforcement hearing in 2022 may clarify
the water rights related to the system and/or uphold the draft Cease and Desist Order issued to the holder in 2021.

Occupancy and use is subject to the resource protection measures, monitoring requirements, and adaptive management
approach adopted in the final decision document approving this use in 2018 for Nestlé Waters North America. The terms
and conditions were updated in 2022 for BlueTriton Brands.

TERMS AND CONDITIONS

I. GENERAL TERMS
A. AUTHORITY. This permit is issued pursuant to Subpart B of 36 CFR Part 251 and the Organic Administration Act,
as amended, and is subject to their provisions.

B. AUTHORIZED OFFICER. The authorized officer is the Forest or Grassland Supervisor or a subordinate officer
with delegated authority.

C. TERM. This permit shall expire at midnight on 08/24/2022, 1 year or less, from the date of issuance.
D. CONTINUATION OF USE AND OCCUPANCY. This permit is not renewable. Prior to expiration of this permit, the
holder may apply for a new permit for the use and occupancy authorized by this permit. Applications for a new
permit must be submitted at least 6 months prior to expiration of this permit. Issuance of a new permit is at the sole
discretion of the authorized officer. At a minimum, before issuing a new permit, the authorized officer shall ensure that (1)
the use and occupancy to be authorized by the new permit is consistent with the standards and guidelines in the
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applicable land management plan; (2) the type of use and occupancy to be authorized by the new permit is the same as
the type of use and occupancy authorized by this permit; and (3) the holder is in compliance with all the terms of this
permit. The authorized officer may prescribe new terms and conditions when a new permit is issued.

E. AMENDMENT. This permit may be amended in whole or in part by the Forest Service when, at the discretion of the
authorized officer, such action is deemed necessary or desirable to incorporate new terms that may be required by
law, regulation, directive, the applicable forest land and resource management plan, or projects and activities
implementing a land management plan pursuant to 36 CFR Part 215.

F. COMPLIANCE WITH LAWS, REGULATIONS, AND OTHER LEGAL REQUIREMENTS. In exercising the rights and
privileges granted by this permit, the holder shall comply with all present and future federal laws and regulations and all
present and future state, county, and municipal laws, regulations, and other legal requirements that apply to the permit
area, to the extent they do not conflict with federal law, regulation, or policy. The Forest Service assumes no
responsibility for enforcing laws, regulations, and other legal requirements that fall under the jurisdiction of other
governmental entities.

G. NON-EXCLUSIVE USE. The use or occupancy authorized by this permit is not exclusive. The Forest Service
reserves the right of access to the permit area, including a continuing right of physical entry to the permit area for
inspection, monitoring, or any other purpose consistent with any right or obligation of the United States under any law or
regulation. The Forest Service reserves the right to allow others to use the permit area in any way that is not inconsistent
with the holder's rights and privileges under this permit, after consultation with all parties involved. Except for any
restrictions that the holder and the authorized officer agree are necessary to protect the installation and operation of
authorized temporary improvements, the lands and waters covered by this permit shall remain open to the public for all
lawful purposes.

H. ASSIGNABILITY. This permit is not assignable or transferable.

I. TRANSFER OF TITLE TO THE IMPROVEMENTS.

1. Notification of Transfer. The holder shall notify the authorized officer when a transfer of title to all or part of the
authorized improvements is planned.

2. Transfer of Title. Any transfer of title to the improvements covered by this permit shall result intermination of the
permit. The party who acquires title to the improvements must submit an application for a permit. The Forest Service is
not obligated to issue a new permit to the party who acquires title to the improvements. The authorized officer shall
determine that the applicant meets requirements under applicable federal regulations.

J. CHANGE IN CONTROL OF THE BUSINESS ENTITY.

1. Notification of Change in Control. The holder shall notify the authorized officer when a change in control of the
business entity that holds this permit is contemplated.

(a) In the case of a corporation, control is an interest, beneficial or otherwise, of sufficient outstanding voting securities or
capital of the business so as to permit the exercise of managerial authority over the actions and operations of the
corporation or election of a majority of the board of directors of thecorporation.

(b) In the case of a partnership, limited partnership, joint venture, or individual entrepreneurship, control is a beneficial
ownership of or interest in the entity or its capital so as to permit the exercise of managerial authority over the actions
and operations of the entity.

(c) In other circumstances, control is any arrangement under which a third party has the ability to exercise management
authority over the actions or operations of the business.

2. Effect of Change in Control. Any change in control of the business entity as defined in paragraph 1 of this clause
shall result in termination of this permit. The party acquiring control must submit an application for a special use permit.
The Forest Service is not obligated to issue a new permit to the party who acquires control. The authorized officer
shall determine whether the applicant meets the requirements established by applicable federal regulations.

II. IMPROVEMENTS
A. LIMITATIONS ON USE. Nothing in this permit gives or implies permission to build or maintain any structure or
facility or to conduct any activity, unless specifically authorized by this permit. Any use not specifically authorized by this
permit must be proposed in accordance with 36 CFR 251.54. Approval of such a proposal through issuance of a new
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permit or permit amendment is at the sole discretion of the authorized officer.

B. PLANS. All plans for development, layout, construction, reconstruction, or alteration of improvements in the permit
area, as well as revisions to those plans must be prepared by a professional engineer, architect, landscape architect, or
other qualified professional based on federal employment standards acceptable to the authorized officer. These plans
and plan revisions must have written approval from the authorized officer before they are implemented. The authorized
officer may require the holder to furnish as-built plans, maps, or surveys upon completion of the work.

C. CONSTRUCTION. Construction is not authorized.

III. OPERATIONS
A. PERIOD OF USE. Use or occupancy of the permit area shall be exercised at least 365 days each year

B. CONDITION OF OPERATIONS. The holder shall maintain the authorized improvements and permit area to
standards of repair, orderliness, neatness, sanitation, and safety acceptable to the authorized officer and consistent with
other provisions of this permit. Standards are subject to periodic change by the authorized officer when deemed
necessary to meet statutory, regulatory, or policy requirements or to protect national forest resources. The holder shall
comply with inspection requirements deemed appropriate by the authorized officer.

C. OPERATING PLAN. The holder shall prepare and annually revise by May 1st an operating plan. The
operating plan shall be prepared in consultation with the authorized officer or the authorized officer's designated
representative and shall cover all operations authorized by this permit. The operating plan shall outline steps the
holder will take to protect public health and safety and the environment and shall include sufficient detail and standards
to enable the Forest Service to monitor the holder's operations for compliance with the terms and conditions of this
permit. The operating plan shall be submitted by the holder and approved by the authorized officer or the authorized
officer's designated representative prior to commencement of operations and shall be attached to this permit as an
appendix. The authorized officer may require an annual meeting with the holder to discuss the terms and conditions of
the permit or operating plan, annual use reports, or other concerns either party may have.

D. MONITORING BY THE FOREST SERVICE. The U.S. Forest Service and its agents have the right to inspect the
permit area and transmission facilities at any time for compliance with the terms of this permit. The holder shall comply
with inspection requirements deemed appropriate by the authorized officer. The holder's obligations under this permit
are not contingent upon any duty of the Forest Service to inspect the permit area or transmission facilities. A
failure by the Forest Service or other governmental officials to inspect is not a justification for noncompliance with any of
the terms and conditions of this permit.

IV. RIGHTS AND LIABILITIES
A. LEGAL EFFECT OF THE PERMIT. This permit, which is revocable and terminable, is not a contract or a lease, but
rather a federal license. The benefits and requirements conferred by this authorization are reviewable solely under the
procedures set forth in 36 CFR 214 and 5 U.S.C. 704. This permit does not constitute a contract for purposes of the
Contract Disputes Act, 41 U.S.C. 601. The permit is not real property, does not convey any interest in real property, and
may not be used as collateral for a loan.

B. VALID EXISTING RIGHTS. This permit is subject to all valid existing rights. Valid existing rights include those derived
under mining and mineral leasing laws of the United States. The United States is not liable to the holder for the exercise
ofany such right.

C. ABSENCE OF THIRD-PARTY BENEFICIARY RIGHTS. The parties to this permit do not intend to confer any rights
on any third party as a beneficiary under this permit.

D. SERVICES NOT PROVIDED. This permit does not provide for the furnishing of road or trail maintenance, water, fire
protection, search and rescue, or any other such service by a government agency, utility, association, or individual.

E. RISK OF LOSS. The holder assumes all risk of loss associated with use or occupancy of the permit area, including
but not limited to theft, vandalism, fire and any fire-fighting activities (including prescribed burns), avalanches, rising
waters, winds, falling limbs or trees, and other forces of nature. If authorized improvements in the permit area are
destroyed or substantially damaged, the authorized officer shall conduct an analysis to determine whether the
improvements can be safely occupied in the future and whether rebuilding should be allowed. If rebuilding is not allowed,
the permit shall terminate.

F. DAMAGE TO UNITED STATES PROPERTY. The holder has an affirmative duty to protect from damage the land,

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property, and other interests of the United States. Damage includes but is not limited to fire suppression costs
and damage to government-owned improvements covered by this permit.

1. The holder shall be liable for all injury, loss, or damage, including fire suppression, prevention and control of the
spread of invasive species, or other costs in connection with rehabilitation or restoration of natural resources resulting
from the use or occupancy authorized by this permit. Compensation shall include but not be limited to the value of
resources damaged or destroyed, the costs of restoration, cleanup, or other mitigation, fire suppression or other types of
abatement costs, and all administrative, legal (including attorney's fees), and other costs. Such costs may be deducted
from a performance bond required under clause IV.J.

2. The holder shall be liable for damage caused by use of the holder or the holder's heirs, assigns, agents, employees,
contractors, or lessees to all roads and trails of the United States to the same extent as provided under clause IV.F.1,
except that liability shall not include reasonable and ordinary wear and tear.

G. HEALTH AND SAFETY. The holder shall take all measures necessary to protect the health and safety of all persons
affected by the use and occupancy authorized by this permit. The holder shall promptly abate as completely as possible
and in compliance with all applicable laws and regulations any physical or mechanical procedure, activity, event, or
condition existing or occurring in connection with the authorized use and occupancy during the term of this permit that
causes or threatens to cause a hazard to the health or safety of the public or the holder's employees or agents.
The holder shall as soon as practicable notify the authorized officer of all serious accidents that occur in connection with
these procedures, activities, events, or conditions. The Forest Service has no duty under the terms of this permit to
inspect the permit area or operations of the holder for hazardous conditions or compliance with health and safety
standards.

H. ENVIRONMENTAL PROTECTION.

1. For purposes of clause IV.H and section V, "hazardous material" shall mean (a) any hazardous substance under
section 101(14) of the Comprehensive Environmental Response, Compensation, and Liability Act (CERCLA), 42 U.S.C.
9601(14); (b) any pollutant or contaminant under section 101(33) of CERCLA, 42 U.S.C. 9601(33); (c) any petroleum
product or its derivative, including fuel oil, and waste oils; and (d) any hazardous substance, extremely hazardous
substance, toxic substance, hazardous waste, ignitable, reactive or corrosive materials, pollutant, contaminant, element,
compound, mixture, solution or substance that may pose a present or potential hazard to human health or the
environment under any applicable environmental laws.

2. The holder shall avoid damaging or contaminating the environment, including but not limited to the soil,
vegetation (such as trees, shrubs, and grass), surface water, and groundwater, during the holder's use and occupancy of
the permit area. Environmental damage includes but is not limited to all costs and damages associated with or resulting
from the release or threatened release of a hazardous material occurring during or as a result of activities of the holder or
the holder's heirs, assigns, agents, employees, contractors, or lessees on, or related to, the lands, property, and other
interests covered by this permit. If the environment or any government property covered by this permit becomes
damaged in connection with the holder's use and occupancy, the holder shall as soon as practicable repair the damage
or replace the damaged items to the satisfaction of the authorized officer and at no expense to the United States.

3. The holder shall as soon as practicable, as completely as possible, and in compliance with all applicable laws and
regulations abate any physical or mechanical procedure, activity, event, or condition existing or occurring in connection
with the authorized use and occupancy during or after the term of this permit that causes or threatens to cause harm
to the environment, including areas of vegetation or timber, fish or other wildlife populations, their habitats, or any other
natural resources.

I. INDEMNIFICATION OF THE UNITED STATES. The holder shall indemnify, defend, and hold harmless the United
States for any costs, damages, claims, liabilities, and judgments arising from past, present, and future acts or omissions
of the holder in connection with the use or occupancy authorized by this permit. This indemnification provision includes
but is not limited to acts and omissions of the holder or the holder's heirs, assigns, agents, employees,
contractors, or lessees in connection with the use or occupancy authorized by this permit which result in (1) violations of
any laws and regulations which are now or which may in the future become applicable; (2) judgments, claims,
demands, penalties, or fees assessed against the United States; (3) costs, expenses, and damages incurred by the
United States; or (4) the release or threatened release of any solid waste, hazardous waste, hazardous materials,
pollutant, contaminant,oil in any form, or petroleum product into the environment. The authorized officer may
prescribe terms that allow the holder to replace, repair, restore, or otherwise undertake necessary curative actions to
mitigate damages in addition to or as an alternative to monetary indemnification.



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V. RESOURCE PROTECTION
A. COMPLIANCE WITH ENVIRONMENTAL LAWS. The holder shall in connection with the use or occupancy
authorized by this permit comply with all applicable federal, state, and local environmental laws and regulations, including
but not limited to those established pursuant to the Resource Conservation and Recovery Act, as amended, 42 U.S.C.
6901 et seq., the Federal Water Pollution Control Act, as amended, 33 U.S.C. 1251 et seq., the Oil Pollution Act, as
amended, 33 U.S.C. 2701 et seq., the Clean Air Act, as amended, 42 U.S.C. 7401 et seq., CERCLA, as amended, 42
U.S.C. 9601 et seq., the Toxic Substances Control Act, as amended, 15 U.S.C. 2601 et seq., the Federal Insecticide,
Fungicide, and Rodenticide Act, as amended, 7 U.S.C. 136 et seq., and the Safe Drinking Water Act, as amended, 42
U.S.C. 300f et seq.

B. VANDALISM. The holder shall take reasonable measures to prevent and discourage vandalism and disorderly
conduct and when necessary shall contact the appropriate law enforcement officer.

C. PESTICIDE USE.

1. Authorized Officer Concurrence. Pesticides may not be used outside of buildings in the permit area to control pests,
including undesirable woody and herbaceous vegetation (including aquatic plants), insects, birds, rodents, or fish without
prior written concurrence of the authorized officer. Only those products registered or otherwise authorized by the U.S.
Environmental Protection Agency and appropriate State authority for the specific purpose planned shall be authorized for
use within areas on National Forest System lands.

2. Pesticide-Use Proposal. Requests for concurrence of any planned uses of pesticides shall be provided in advance
using the Pesticide-Use Proposal (form FS-2100-2). Annually the holder shall, on the due date established by the
authorized officer, submit requests for any new, or continued, pesticide usage. The Pesticide-Use Proposal shall cover a
12-month period of planned use. The Pesticide-Use Proposal shall be submitted at least 60 days in advance of pesticide
application. Information essential for review shall be provided in the form specified. Exceptions to this schedule may be
allowed, subject to emergency request and approval, only when unexpected outbreaks of pests require control measures
which were not anticipated at the time a Pesticide-Use Proposal was submitted.

3. Labeling, Laws, and Regulations. Label instructions and all applicable laws and regulations shall be strictly followed in
the application of pesticides and disposal of excess materials and containers. No pesticide waste, excess materials, or
containers shall be disposed of in any area administered by the Forest Service.

D. ARCHAEOLOGICAL-PALEONTOLOGICAL DISCOVERIES. The holder shall immediately notify the authorized
officer of all antiquities or other objects of historic or scientific interest, including but not limited to historic or
prehistoric ruins, fossils, or artifacts discovered in connection with the use and occupancy authorized by this permit. The
holder shall follow the applicable inadvertent discovery protocols for the undertaking provided in an agreement executed
pursuant to section 106 of the National Historic Preservation Act, 54 U.S.C. 306108; if there are no such agreed-upon
protocols, the holder shall leave these discoveries intact and in place until consultation has occurred, as informed, if
applicable, by any programmatic agreement with tribes. Protective and mitigation measures developed under this clause
shall be the responsibility of the holder. However, the holder shall give the authorized officer written notice before
implementing these measures and shall coordinate with the authorized officer for proximate and contextual discoveries
extending beyond the permit area.

E. NATIVE AMERICAN GRAVES PROTECTION AND REPATRIATION ACT (NAGPRA). In accordance with 25 U.S.C.
3002(d) and 43 CFR 10.4, if the holder inadvertently discovers human remains, funerary objects, sacred objects, or
objects of cultural patrimony on National Forest System lands, the holder shall immediately cease work in the area of the
discovery and shall make a reasonable effort to protect and secure the items. The holder shall follow the applicable
NAGPRA protocols for the undertaking provided in the NAGPRA plan of action or the NAGPRA comprehensive
agreement; if there are no such agreed-upon protocols, the holder shall as soon as practicable notify the
authorized officer of the discovery and shall follow up with written confirmation of the discovery. The activity that resulted
in the inadvertent discovery may not resume until 30 days after the forest archaeologist certifies receipt of the written
confirmation, if resumption of the activity is otherwise lawful, or at any time if a binding written agreement has been
executed between the Forest Service and the affiliated Indian tribes that adopts a recovery plan for the human remains
and objects.

F. PROTECTION OF THREATENED AND ENDANGERED SPECIES, SENSITIVE SPECIES, AND SPECIES OF
CONSERVATION CONCERN AND THEIR HABITAT.




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1. Threatened and Endangered Species and Their Habitat. The location of sites within the permit area needing special
measures for protection of plants or animals listed as threatened or endangered under the Endangered Species Act
(ESA)of 1973, 16 U.S.C. 1531 et seq., as amended, or within designated critical habitat shall be shown on a map
in an appendix to this permit and may be shown on the ground. The holder shall take any protective and mitigation
measures specified by the authorized officer as necessary and appropriate to avoid or reduce effects on listed species or
designatedcritical habitat affected by the authorized use and occupancy. Discovery by the holder or the Forest Service of
other sites within the permit area containing threatened or endangered species or designated critical habitat not shown
on the map inthe appendix shall be promptly reported to the other party and shall be added to the map.

2. Sensitive Species and Species of Conservation Concern and Their Habitat. The location of sites within the permit
area needing special measures for protection of plants or animals designated by the Regional Forester as sensitive
species or as species of conservation concern pursuant to FSM 2670 shall be shown on a map in an appendix to this
permit and may be shown on the ground. The holder shall take any protective and mitigation measures specified by the
authorized officer as necessary and appropriate to avoid or reduce effects on sensitive species or species of
conservation concern ortheir habitat affected by the authorized use and occupancy. Discovery by the holder or the Forest
Service of other sites within the permit area containing sensitive species or species of conservation concern or their
habitat not shown on the map in the appendix shall be promptly reported to the other party and shall be added to the
map.

G. SURVEY AND MANAGE SPECIES AND THEIR HABITAT The location of sites within the permit area occupied by
survey and manage species or their habitat shall be shown on a map in an appendix to this permit and may be shown on
the ground. The survey and manage species and survey and manage standards and guidelines were established in the
1994 Northwest Forest Plan amendments to all Forest Service land and resource management plans in western Oregon
and Washington and northern California, as amended by the January 2001 Record of Decision (2001 ROD). The list of
survey and manage species in the 2001 ROD has been amended and is subject to periodic amendment by the Forest
Service. The holder shall take any protective and mitigation measures specified by the authorized officer as necessary
and appropriate to avoid or reduce effects on survey and manage species or their habitat affected by the authorized use
and occupancy. The location of sites within the area occupied by survey and manage species or their habitat shall be
shown on a map in an appendix to this permit and may be shown on the ground. Discovery by the holder or the Forest
Service of other sites within the permit area containing survey and manage species or their habitat not shown on the
map in the appendix shall be promptly reported to the other party and shall be added to the map.

H. CONSENT TO STORE HAZARDOUS MATERIALS The holder shall not store any hazardous materials at the site
without prior written approval from the authorized officer. This approval shall not be unreasonably withheld. If the
authorized officer provides approval, this permit shall include, or in the case of approval provided after this permit is
issued, shall be amended to include specific terms addressing the storage of hazardous materials, including the specific
type of materials to be stored, the volume, the type of storage, and a spill plan. Such terms shall be proposed by the
holder and are subject to approval by the authorized officer.

1. If the holder receives consent to store hazardous material, the holder shall identify to the Forest Service any
hazardous material to be stored at the site. This identifying information shall be consistent with column (1) of the table of
hazardous materials and special provisions enumerated at 49 CFR 172.101 whenever the hazardous material appears in
that table. For hazard communication purposes, the holder shall maintain Material Safety Data Sheets for any stored
hazardous chemicals, consistent with 29 CFR 1910.1200(c) and (g). In addition, all hazardous materials stored by the
holder shall beused, labeled, stored, transported, and disposed of in accordance with all applicable federal, state, and
local laws and regulations.

2. The holder shall not release any hazardous materials (clause IV.H) onto land or into rivers, streams, impoundments,
or natural or man-made channels leading to them. All prudent and safe attempts must be made to contain any release of
these materials. The authorized officer in charge may specify specific conditions that must be met, including
conditions more stringent than federal, state, and local regulations, to prevent releases and protect natural resources.

3. If the holder uses or stores hazardous materials at the site, upon revocation or termination of this permit the holder
shall provide the Forest Service with a report certified by a professional or professionals acceptable to the Forest
Service that the permit area is uncontaminated by the presence of hazardous materials and that there has not been a
release or discharge of hazardous materials upon the permit area, into surface water at or near the permit area, or into
groundwater below the permit area during the term of the permit. If a release or discharge has occurred, the professional
orprofessionals shall document and certify that the release or discharge has been fully remediated and that the permit
area is in compliance with all applicable federal, state, and local laws and regulations.




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I. CLEANUP AND REMEDIATION
1. The holder shall immediately notify all appropriate response authorities, including the National Response Center
and the authorized officer or the authorized officer's designated representative, of any oil discharge or of the release of a
hazardous material in the permit area in an amount greater than or equal to its reportable quantity, in accordance with 33
CFR Part 153, Subpart B, and 40 CFR Part 302. For the purposes of this requirement, "oil" is as defined by section
311(a) of the Clean Water Act, 33 U.S.C. 1321(a)(1). The holder shall immediately notify the authorized officer or the
authorized officer's designated representative of any release or threatened release of any hazardous material in or near
the permit area which may be harmful to public health or welfare or which may adversely affect natural resources on
federal lands.

2. Except with respect to any federally permitted release as that term is defined under Section 101(10) of CERCLA,
42 U.S.C. 9601(10), the holder shall clean up or otherwise remediate any release, threat of release, or discharge of
hazardous materials that occurs either in the permit area or in connection with the holder's activities in the permit area,
regardless of whether those activities are authorized under this permit. The holder shall perform cleanup or remediation
immediately upon discovery of the release, threat of release, or discharge of hazardous materials. The holder shall
perform the cleanup or remediation to the satisfaction of the authorized officer and at no expense to the United States.
Upon revocation or termination of this permit, the holder shall deliver the site to the Forest Service free and clear of
contamination.

VI. LAND USE FEE AND DEBT COLLECTION
A. LAND USE FEES. The holder shall pay an initial annual land use fee of $1998.48 for the period of 01/01/2022 to
12/31/2022 (or as indicated by USFS billing). The annual land use fee shall be adjusted annually using the implicit price
deflator gross national product (IPD-GNP) index as shown in the Linear Right Of Way (LROW) fee schedule.

B. MODIFICATION OF THE LAND USE FEE. The land use fee may be revised whenever necessary to reflect the
market value of the authorized use or occupancy or when the fee system used to calculate the land use fee is modified
or replaced.

C. FEE PAYMENT ISSUES.
1. Crediting of Payments. Payments shall be credited on the date received by the deposit facility, except that if a
payment is received on a non-workday, the payment shall not be credited until the next workday.

2. Disputed Fees. Fees are due and payable by the due date. Disputed fees must be paid in full. Adjustments will
be made if dictated by an administrative appeal decision, a court decision, or settlement terms.

3. Late Payments

    (a) Interest. Pursuant to 31 U.S.C. 3717 et seq., interest shall be charged on any fee amount not paid within 30
        days from the date it became due. The rate of interest assessed shall be the higher of the Prompt Payment Act
        rate or the rate of the current value of funds to the United States Treasury (i.e., the Treasury tax and loan
        account rate), as prescribed and published annually or quarterly by the Secretary of the Treasury in the Federal
        Register and the Treasury Fiscal Requirements Manual Bulletins. Interest on the principal shall accrue from the
        date the fee amount is due.

    (b) Administrative Costs. If the account becomes delinquent, administrative costs to cover processing and
        handling the delinquency shall be assessed.

    (c) Penalties. A penalty of 6% per annum shall be assessed on the total amount that is more than 90 days
        delinquent and shall accrue from the same date on which interest charges begin to accrue.

    (d) Termination for Nonpayment. This permit shall terminate without the necessity of prior notice and opportunity to
        comply when any permit fee payment is 90 calendar days from the due date in arrears. The holder shall remain
        responsible for the delinquent fees.




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4. Administrative Offset and Credit Reporting. Delinquent fees and other charges associated with the permit shall
be subject to all rights and remedies afforded the United States pursuant to 31 U.S.C. 3711 et seq. and common
law. Delinquencies are subject to any or all of the following:

    (a) Administrative offset of payments due the holder from the Forest Service.

    (b) If in excess of 60 days, referral to the United States Department of the Treasury for appropriate collection
        action as provided by 31 U.S.C. 3711(g)(1).

    (c) Offset by the Secretary of the Treasury of any amount due the holder, as provided by 31 U.S.C. 3720 et seq.

    (d) Disclosure to consumer or commercial credit reporting agencies.

VII. REVOCATION, SUSPENSION, AND TERMINATION
A. REVOCATION AND SUSPENSION. The authorized officer may revoke or suspend this permit in whole or in part:

1. For noncompliance with federal, state, or local law.
2. For noncompliance with the terms of this permit.
3. For abandonment or other failure of the holder to exercise the privileges granted.
4. With the consent of the holder.
5. For specific and compelling reasons in the public interest.

Prior to revocation or suspension, other than immediate suspension under clause VII.B, the authorized officer shall give
the holder written notice of the grounds for revocation or suspension and a reasonable period, typically not to exceed 90
days, to cure any noncompliance.

B. IMMEDIATE SUSPENSION. The authorized officer may immediately suspend this permit in whole or in part when
necessary to protect public health or safety or the environment. The suspension decision shall be in writing. The holder
may request an on-site review with the authorized officer's supervisor of the adverse conditions prompting the
suspension.The authorized officer's supervisor shall grant this request within 48 hours. Following the on-site review, the
authorized officer's supervisor shall promptly affirm, modify, or cancel the suspension.




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C. APPEALS AND REMEDIES. Written decisions by the authorized officer relating to administration of this permit are
subject to administrative appeal pursuant to 36 CFR Part 214, as amended. Revocation or suspension of this permit shall
not give rise to any claim for damages by the holder against the Forest Service.

D. TERMINATION. This permit shall terminate when by its terms a fixed or agreed upon condition, event, or time occurs
without any action by the authorized officer. Examples include but are not limited to expiration of the permit by its terms
on a specified date and termination upon change of control of the business entity. Termination of this permit shall not
require notice, a decision document, or any environmental analysis or other documentation. Termination of this permit is
not subject to administrative appeal and shall not give rise to any claim for damages by the holder against the Forest
Service.

E. RIGHTS AND RESPONSIBILITIES UPON REVOCATION OR TERMINATION WITHOUT ISSUANCE OF A
NEW PERMIT. Upon revocation or termination of this permit without issuance of a new permit, the holder shall remove
all structures and improvements, except those owned by the United States, within a reasonable period prescribed by the
authorized officer and shall restore the site to the satisfaction of the authorized officer. If the holder fails to remove all
structures and improvements within the prescribed period, they shall become the property of the United States and
may be sold, destroyed, or otherwise disposed of without any liability to the United States. However, the holder shall
remain liable for all costs associated with their removal, including costs of sale and impoundment, cleanup, and
restoration of the site.

VIII.   MISCELLANEOUS PROVISIONS
A. MEMBERS OF CONGRESS. No member of or delegate to Congress or resident commissioner shall benefit from this
permit either directly or indirectly, except to the extent the authorized use provides a general benefit to a corporation.

B. CURRENT ADDRESSES. The holder and the Forest Service shall keep each other informed of current
mailing addresses, including those necessary for billing and payment of land use fees.

C. SUPERSEDED PERMIT. This permit supersedes a special use permit designated NESTLE WATERS NORTH
AMERICA, INC, FCD728501, dated AUGUST 24, 2018

D. SUPERIOR CLAUSES. If there is a conflict between any of the preceding printed clauses and any of the following
clauses, the preceding printed clauses shall control.

E. Water Wells and Associated Pipelines (D-23).

1. State and Local Documentation for Water Wells. The holder shall obtain all required State and local water permits,
licenses, registrations, certificates, and rights for existing and proposed water wells and shall provide a copy of this
documentation to the Authorized Officer. (See clause D-24) For proposed water well construction, development or
redevelopment, this documentation shall be provided prior to commencement of work.

2. Water Well Construction and Development. For water well construction and development (or redevelopment), the
holder shall prepare a well construction and development plan and submit it to the Authorized Officer for approval. The
well construction and development plan must have written approval from the Authorized Officer before well construction
or development commences. The holder shall follow applicable Federal, State, and local standards for design,
construction, and development of new wells or redevelopment of existing wells. If these standards do not exist, the
holder shall follow applicable standards issued by the American Society for Testing and Materials (ASTM), American
Water Works Association (AWWA), or National Ground Water Association (NGWA). The construction and development
plan must identify all potential sources for any proposed water injection during well construction and development. Only
non-chlorinated, potable water may be injected during construction and development of wells that will be used for
monitoring or water withdrawal. Copies of all documentation for drilling, constructing, or developing wells, including all
drilling, boring, and well construction or development logs, shall be provided to the Authorized Officer within 60 days of
completion of work.

3. Water Conservation Plan. For new or redeveloped wells, as part of a well development plan, the holder shall prepare
and submit for written approval by the Authorized Officer a water conservation plan utilizing appropriate strategies to limit
the amount of water removed from National Forest System lands.

4. Water Well Decommissioning. The holder shall properly decommission and abandon all water wells that are no longer
needed or maintained in accordance with applicable Federal, State, and local standards for water well abandonment. If
these standards do not exist, the holder shall follow applicable standards issued by the ASTM, AWWA, or NGWA. At
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least 30 days prior to initiation of well decommissioning, the holder shall submit a well decommissioning plan to the
Authorized Officer. The well decommissioning plan must have written approval from the Authorized Officer before well
decommissioning commences. All documentation of well decommissioning shall be provided to the Authorized Officer
within 60 days of completion of the work.

F. Water Facilities and Water Rights (D-24).

1. Water Facilities. No ditch, reservoir, well, spring, seepage, or other facility to pump, divert, store, or convey water
(hereinafter "water facilities") for which the point of diversion, storage, or withdrawal is on National Forest System lands
may be initiated, developed, certified, or adjudicated by the holder unless expressly Authorized in this permit. The
authorization of any water facilities in the permit area is granted to allow use of water only in connection with the use
Authorized by this permit. If the use of any water facilities in connection with this use ceases, the authorization to use
any associated water facilities also ceases. The United States may place conditions on installation, operation,
maintenance, and removal of water facilities that are necessary to protect public property, public safety, and natural
resources on National Forest System lands in compliance with applicable law. Any change in a water facility, including a
change in the ownership or beneficial use of water or location of use of water from a water facility, that is not expressly
Authorized in this permit shall result in termination of the authorization for that water facility.

2. Water Rights. This permit does not confer any water rights on the holder. The term "water rights" includes all
authorizations, such as certificates, reservations, decrees, or permits, for water use issued under state, local, or other
law and all water rights otherwise recognized under state law. Any necessary water rights must be acquired and
maintained by the holder in accordance with State law and the terms of this permit. After this permit is issued, all water
rights obtained by the holder for facilities that divert or pump water from sources located on National Forest System lands
for use on National Forest System lands, whether Authorized or unAuthorized, are for the benefit of the United States
and shall be acquired in the name of the United States. Any expenses for acquiring water rights shall be the
responsibility of the holder and not the responsibility of the United States.

3. Water Rights Acquired in the Name of the Holder

    a.   Identification of Water Rights. The holder has obtained the following water rights for use under this permit in the
         holder's name:

         State ID #: None
         Owner: NA
         Purpose of Use:     Commercial
         Decree, License, or Certificate: None
         Point of Diversion: See maps

    b.   Termination or Revocation for Reasons Other Than Nonuse. Upon termination or revocation of this permit, other
         than revocation for nonuse, the holder shall transfer the water rights enumerated in clause 3.a to any
         succeeding permit holder, for use only in connection with the use and infrastructure Authorized by this
         permit, provided that if that use is not re-Authorized, the holder shall promptly petition in accordance with State
         law to remove from National Forest System lands the point of diversion and water use associated with the
         water rights enumerated in clause 3.a or shall transfer these water rights to the United States.

    c.   Revocation for Nonuse. Upon revocation of this permit for nonuse, the holder shall transfer any of the water
         rights enumerated in clause 3.a that remain in the name of the holder at the time of revocation to the United
         States to hold for the benefit of any succeeding permit holder for use only in connection with that use, activity,
         and/or infrastructure, provided that if that use is not re-Authorized and the holder has not petitioned to
         remove those water rights per clause 3.b, the holder shall transfer the water rights to the United States.

    d.   Documentation of Transfer. The holder and the holder's assigns shall execute and properly file any document
         ready to transfer ownership of the water rights enumerated in clause 3.a to a succeeding permit holder or the
         United States. By executing this permit, the holder hereby grants limited power of attorney to the Authorized
         Officer to execute any document on behalf of the holder as may be necessary to transfer the water rights
         enumerated in clause 3.a to a succeeding permit holder or the United States. Holder’s initials and date: ______

    e.   Waiver. The holder waives any claims against the United States for compensation for any water rights that are
         transferred, removed, or relinquished as a result of revocation, including revocation for nonuse, or termination of
         this permit, or for compensation in connection with imposition of any conditions on installation, operation,
         maintenance, and removal of water facilities associated with water rights enumerated in clause 3.a.

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G. Water Facilities and Water Rights (D-25).

This permit does not confer any water rights on the holder. Any necessary water rights must be acquired by the holder in
accordance with State law. Any expenses for acquiring water rights shall be the responsibility of the holder. The United
States reserves the right to place any conditions on installation, operation, maintenance, and removal of facilities to
pump,divert, store, or convey water on National Forest System lands covered by this permit that are necessary to protect
public property, public safety, and natural resources on National Forest System lands in compliance with applicable law.
The holder waives any claims against the United States for compensation in connection with imposition of any conditions
on installation, operation, maintenance, and removal of water facilities under this permit.

H. Signs (X-29).

Signs or advertising devices erected on National Forest System lands shall have prior approval by the Forest Service
as to location, design, size, color, and message. Erected signs shall be maintained or renewed as necessary to neat and
presentable standards, as determined by the Forest Service.

I. Improvement Relocation (X-33).

This authorization is granted with the express understanding that should future location of United States Government-
owned improvements or road rights-of-way require the relocation of the holder's improvements, such relocation will be
done by, and at the expense of, the holder within a reasonable time as specified by the Authorized Officer.




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According to the Paperwork Reduction Act of 1995, an agency may not conduct or sponsor, and a person is not required
to respond to a collection of information unless it displays a valid OMB control number. The valid OMB control number for
this information collection is 0596-0082. The time required to complete this information collection is estimated to average
one hour per response, including the time for reviewing instructions, searching existing data sources, gathering and
maintaining the data needed, and completing and reviewing the collection of information.

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the Federal relay at (800) 877-8339 (TDD) or (866) 377-8642 (relay voice). USDA is an equal opportunity provider and
employer.

The Privacy Act of 1974 (5 U.S.C. 552a) and the Freedom of Information Act (5 U.S.C. 552) govern the confidentiality to
be provided for information received by the Forest Service.




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                                            San Bernardino National Forest
                                          Appendix A – Terms and Conditions
                             BlueTriton Brands, Inc. (formerly Nestlé Waters North America)
                                         Permit for Operating and Maintaining a
                                       Water Collection and Transmission System
                                                 (931, 753, 715, 915, 914)

                                                   Terms and Conditions included:
                                                                                                        (rev. 01-2022)

 Section     101       MONITORING
 Section     102       REPORTING REQUIREMENTS
 Section     103       NOTIFICATIONS TO USFS
 Section     104       REGULATORY REQUIREMENTS
 Section     105       ADAPTIVE MANAGEMENT PLAN



     101 MONITORING

      1. Strawberry Creek (FL-1, FL-2, FL-4, FL-5, TR-BF-XS-6, 18, 28, 43, 49), including the confluence,
         shall be monitored monthly for surface flow and temperature.
             a. Monitoring results shall be reported to the permit administrator by the final business day of
                  the month.
      2. Equivalent locations in East Twin Creek (TL1, 2, 3, 4) and West Fork City Creek (CL1, 2, 3, 4, 5) shall
         be monitored monthly for surface flow and water temperature.
             a. Results shall be reported to the permit administrator by the final business day of the month.
             b. Monitoring should begin immediately following the signing of the permit.
             c. Coordinates and maps of monitoring sites shall be provided with monthly monitoring data.

     102 REPORTING REQUIREMENTS

      1. By the final business day of the month following monthly required hydrologic monitoring, all raw
         hydrologic data collected (e.g., pictures, copies of field notebooks, values, maps, extraction rates,
         volumes per location, coordinates for extraction location, etc.) shall be provided to the Permit
         administrator electronically.
              a. Monitoring data should also be provided to permit administrator in a Microsoft Excel format.
              b. For months when no flow data is collected, the permit administrator should be notified by the
                  final business day of the month.
      2. The Permittee shall provide a trend analysis of the data collected (e.g., hydrographs,
         evapotranspiration, precipitation, vegetative health, extraction rates and volumes, etc.) on a quarterly
         schedule based on the calendar year. This report shall include graphs (e.g., percent loss ratio of
         stream over time, confluence flow rate over time) and a short narrative that incorporates previously
         collected data and builds a long-term record.
      3. The Permittee shall provide descriptive and quantitative reporting based on daily measurements and
         management actions, including changes to extraction.
      4. The Groundwater-Surface Water Modeling report following the ASTM D5718-13 standard1 shall be
         provided to the permit administrator within 45 days following the signing of the permit.
              a. Comments from USFS staff shall be incorporated into a final report and/or addressed in a
                  comment matrix and delivered to the permit administrator no later than 45 days following the
                  date of receipt of USFS comments.

 1
  ASTM D5718-13, Standard Guide for Documenting a Groundwater Flow Model Application, ASTM International, West
 Conshohocken, PA, 2013.



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    5.   Additional model simulations may be requested by USFS staff and documentation of these simulations
         per ASTM D5718-13 will be delivered to the permit administrator within 60 days.
    6.   Raw macroinvertebrate data shall be delivered no later than 120 days after each monitoring event.
              a. In the documentation of the BMI (Benthic Macro-Invertebrate) data collection, the percentage
                   of reaches that are pools, riffles, and runs, and the percentage of each group that does not
                   have surface flow shall be measured and reported.
    7.   The Annual Paired Basin Study report shall be provided electronically by March 1 annually.
         Appendices, tables, and figures shall be incorporated into one complete document and provided in an
         editable Microsoft Word format to USFS staff for review. All reports and data shall be provided to the
         permit administrator electronically.
    8.   All Annual Paired Basin Study and Hydrology Report comments from USFS shall be incorporated into
         a final report and/or addressed in a comment matrix and delivered to the permit administrator no later
         than 45 days following the date of receipt of USFS comments.

   103 NOTIFICATIONS TO USFS

    1. The permit administrator shall be notified electronically within 7 days of any actions and the reasons
         for such actions that significantly change extractions (increases or decreases) from any extraction
         location (e.g., shut ins, turn outs, down for maintenance, etc.).

   104 REGULATORY REQUIREMENTS

    1.   The permittee may be required to provide proof of compliance with other applicable federal and state
         agency permits, regulations, or policy, as a condition of this special use authorization.
    2.   Unless prior arrangements have been made with the authorized officer or the permit administrator, no
         condition or circumstance shall prevent the permittee from meeting the conditions and reporting
         deadlines set forth above. Any such arrangements shall be recorded with the permit and reporting
         documents.
    3.   The authorized officer may revoke or suspend this permit in whole or in part, without notice, if the
         terms and conditions set forth herein are not met.
    4.   Failure of the USFS to enforce any part of the special use authorization shall in no event be deemed
         a waiver of the right to do so thereafter.
    5.   Any forbearance on the part of the USFS to notify the permittee or exercise its rights in the event of
         noncompliance shall not be deemed or construed to be a waiver of its authority or of its right to
         enforce compliance at any time.




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   105 Adaptive Management Plan for Arrowhead
   Springs San Bernardino National Forest Special Use Permit
   No. FCD728502 BlueTriton Brands, Inc. (Permittee)


   SCOPE

   Special Use Permit No. FCD 728502 (SUP) was issued for use and occupancy of National Forest System lands
   in the San Bernardino National Forest (SBNF) which includes operation of water conveyance infrastructure
   through the SBNF. Implementation of this Adaptive Management Plan (AMP) will identify whether incremental
   changes to the mitigation measures are necessary to reduce effects on National Forest resources.


   This final AMP serves as an implementation tool that incorporates an "implement-monitor-adapt" strategy
   that provides flexibility to respond to monitoring information that indicates that desired conditions are not
   being met. If monitoring demonstrates that the intended effects are not being achieved through the initial
   management action, the action can be modified using one or more of the adaptive management actions to
   achieve the intended effects. The AMP includes:

       1)   Forest Plan objective (standard, requirement, handbook);
       2) Monitoring to assess if the objective is being met;
       3) Goal(s) where Forest Plan objective(s) is not being met;
       4)   Action(s) to meet Forest Plan objective(s); and
       5)   Monitoring to assess success of mitigation and restoration.

  This final AMP, developed by the permittee in conjunction with the Forest Service, and approved by the
  authorized officer, will be active for the term of the permit, and may be amended based on the resultsof the
  paired basin studies described above.

  This final AMP is intended to meet SBNF Land Management Plan (LMP) requirements and standards as part
  of the permit when issued. Permittee herein provides detailed information on implementation of the AMP,
  for approval by the Forest Service. As stated in the Decision Memo, this AMP will be implemented so long as
  monitoring indicates that the environmental effects of the adaptive management approach do not exceed the
  scope of those anticipated in the decision, and the actions serve to move the project toward the intended
  effects, implementation continues using the "implement monitor adapt" cycle without the need for new or
  supplemental National Environmental Policy Act review. If any changes are proposed that are outside the
  scope of this decision, the provision of the Forest Service Handbook 1909.15 Section 18 would apply.




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   Adaptive Management Plan for Arrowhead Springs
   San Bernardino National Forest Special Use Permit No. FCD728502
   BlueTriton Brands, Inc. (Permittee)

 A. Objective 1 - Water Standards
       1)    LMP, Part 3, S46: Surface water diversions and groundwater extractions, including wells and
             spring developments will only be authorized when it is demonstrated by the user, and/or
             agreed to by the Forest Service, that the water extracted is excess to the current and
             reasonably foreseeable future needs of forest resources.
       2)    Monitoring components
               a. Determination of safe yield (water balance) in the sub-watershed containing the
                  extraction points:
                       i.    Inputs: Precipitation gaging, groundwater inflow, infiltration
                       ii.   Outputs: Evapotranspiration gaging, overland flow, surface water outflow,
                             groundwater outflow including extraction
                       iii. Build a gridded surface water-groundwater model and calibrate it with collected
                            data including structural geology (e.g. faults) components
                               1.   Building and calibrating a fractured mountain-front hydrogeologic model
                                    is a longer-term goal given the lack of baseline data and the multiple
                                    parameters needed.
               b.   Water quality testing to maintain compliance with Clean Water Act Basin Plan:
                       i.    475 milligrams per liter total dissolved solids.
               c.   Maintenance of surface water flow to support macroinvertebrate populations and
                    riparian vegetation.
               d. The 2002 and 2015 studies showed that the stream reach below Wells 10,11, 12 was
                  dry and did not support macroinvertebrate populations. The goal is to reduce
                  extraction until the desired condition (riparian vegetation and macroinvertebrate
                  populations similar to the paired watershed) is achieved. Stream Condition data has yet
                  to be collected in stream reaches below Wells in complex 7 and below the cluster of
                  wells/springs 1, lA, 8, and the FS Spring, and tunnels 2 and 3.
               e. Provide drinking water for wildlife at two locations as specified in the Resource
                  Mitigation Measures.
      3)     Goals:
                a. Flows as specified will be maintained in two (2) locations as follows:
                      i.     Lower spring complex (10, 11, 12) - 20 gallons per minute (gpm) in the drainage
                             area A tributary of Strawberry Creek immediately above the confluence of
                             drainage area A and Bas defined in URS 2002. Drainage area A is the watershed
                             influenced by the water extraction.
                      ii.    Borehole complex 1, lA, and 8 - 6.25 gpm as measured at water right A6108.
               b. These flows are established as initial minimum flows. Permittee must manage
                  extraction to maintain those minimum flows.
                      i.     Flows below the required minimum flows indicate that surface flow is trending
                             towards too dry and that there is no water in excess of the needs of forest
                             resources and therefore there is no water available for extraction.
                      ii.    As future data is collected these goals can change if monitoring shows the
                             needfor adjustment.




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   Adaptive Management Plan for Arrowhead Springs
   San Bernardino National Forest Special Use Permit No. FCD728502
   BlueTriton Brands, Inc. (Permittee)


       4)    Actions:
                 a. In support of goals (a.i) or (a.ii), Permittee will conduct a study of hydrologic conditionsto
                    determine appropriate actions to support the Objective or define alternative
                    measurement points, goals, and actions. The study will continue for the duration of
                    the 3-year permit and will include evaluation of the hydraulic connection between
                    diversion points and water flow at the identified goal location and conditions relevant
                    to achieving the goal. Specific testing methods and the locations are described in the
                    document titled Strawberry Canyon Hydrologic Data Collection Plan included as
                    Attachment A to this document. The study will include reduction and/or stopping
                    extraction at the closest diversion point to the measurement reach as described in
                     (i) through (iii) below, or other diversion points determined in consultation with SBNF, or
                     taking other actions to support the Objective. Initial actions include the following:
                      i.    Water right A6108 is in closest proximity to boreholes 1, lA, 8, which will need to
                            be shut-in, potentially seasonally, to provide for the 6.25 gpm.
                      ii.   The 20 gpm minimum requirement is hypothesized to be directly affected by
                            extraction at boreholes 10, 11, 12, and indirectly by tunnels 2, 3 and boreholes 7,
                            7A, 7B, 7C.
                      iii. As the hydrogeology becomes better understood (travel times,
                           groundwater/surface water connections), reduction of extraction from the
                           appropriate sources can be better identified.
                b.    If the initial actions do not achieve the stated metric criteria for the goal, or if no
                      measurable relationship is identified between the diversion and the stated metric
                      criteria, Permittee will consult with SBNF technical specialists to determine next steps
                      and to evaluate locations and methods to establish meaningful monitoring to address
                      hydrologic and biological concerns or take other approved actions to support the
                      Objective.
      5)     Monitoring:
                a. Monitor flow at least bimonthly to ensure minimum flow levels are met.
                b. Emphasize more frequent monitoring intervals as flow levels approach the minimum
                   flow levels, or less if minimum levels are exceeded over a longer period, such as
                   winter/wet season conditions.
                c.   Monitor flows with recording hydrographs to capture diurnal fluctuation.
                d. Track groundwater recovery (i.e., pressure transducers, piezometers) between spring
                   locations and surface water drying location(s).
                e.   Measure travel time through the system.
                f.   Measure water quality parameters.
                g.   Track groundwater recovery.




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   Adaptive Management Plan for Arrowhead Springs
   San Bernardino National Forest Special Use Permit No. FCD728502
   BlueTriton Brands, Inc. (Permittee)


 B. Objective 2 - Riparian Standards
        1)   LMP, Part 3, S47: When designing new projects in riparian areas, apply the Five-Step Project
             Screening Process for Riparian Conservation Areas as described in Appendix E - Five-Step
             Project Screening Process for Riparian Conservation Areas. Activities are designed to protect,
             maintain, or restore the riparian ecosystem. In the riparian conservation areas that include
             perennial and intermittent streams, lakes, and wetlands allow only those actions that
             maintain or improve long-term aquatic and riparian ecosystem health including quantity,
             quality, and timing of stream flows. As part of the analysis consider physical factors, such as
             soil characteristics, groundwater and surface water characteristics, geology and geologic
             hazards, slope, and stream characteristics; and biological factors, such as aquatic and riparian
             dependent species present, their habitat needs (see species guidance documents in Part 3,
             Appendix H), and the ability of the existing environment to provide needed habitat. [Strategy
             WAT 1 includes RCA language and "Restore, maintain and improve watershed conditions over
             the long-term.")

       2)    Monitoring components - determine potential of riparian ecosystem for restoration purposes
                a. Conduct a paired watershed study to assess the riparian health of control sites (where
                   no water extraction occurs) located East Twin Creek and other accessible, proximal, and
                   approved sub-watershed compared to the sub-watershed of Strawberry Creek where
                   the extraction points are located. Multiple paired study locations may be used to look
                   at different parts of the watershed. Actual locations will be determined following
                   discussions with the United States Forest Service (USFS) and will be described in the
                   Paired Basin Study Plan. The study will be designed to provide an objective, quantitative
                   assessment of the riparian and aquatic habitat health that can be compared over time at
                   all study reaches.
                      i.    Since the 2002 and 2015 studies noted that the creek was dry below the geologic
                            fault near Wells 10,11, 12, set one monitoring location transect and channel
                            length in East Twin Creek based on elevation and lateral extent of geologic fault
                            structures (this could occur near the Hl bird survey area, Figure 7, Bio technical
                            report).
                      ii.   Additional suitable comparison reach locations should coincide with elevation,
                            faulting, geomorphology, etc. for extraction locations 1, 2, 3, 7, 8 spring/well
                            groupings, where safely accessible.
                      iii. Use a modified stream condition inventory/proper functioning condition protocol
                            to gather geomorphology, plant physiology, extent of riparian vegetation
                            (including native mid to late seral stage), condition of the channel, stream
                            characteristics, flow, water quality, macroinvertebrate diversity, stream
                            hydrograph, precipitation, geologic structural controls on flow, etc.
                            Macroinvertebrate analysis will include the California Stream Condition Index
                            scoring system to obtain data that can be compared to each study site.
                     iv. Use standard forest inventory plot measurements to monitor condition of riparian
                         vegetation, including seral stage, shrub and tree density, distribution,
                         regeneration, mortality, species composition, cover, and other relevant variables.




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                       i.   Perform aerial photographic analysis of canopy, vegetation diversity, distribution,
                            and general riparian conditions including overall health at key riparian areas
                            within the study plots in Strawberry Creek and the control plot locations. The
                            photographic aerial imagery survey will be captured by drone, compiled into a
                            digital high-resolution aerial map and analyzed by high-resolution computer
                            applications. Each year, the plot location area imagery will be compared as part of
                            the Paired Basin Study to determine any patterns in changes that may be due to
                            an environmental response and/or water extraction.
                       ii. Determine improvement in habitat suitability from increased flow rate in drainage
                           by using protocol standards established for southwestern willow flycatcher, least
                           bell's vireo, California gnatcatcher, Santa Ana speckled dace, and mountain
                            yellow-legged frog in year 2 and year 4 (if the permit is reissued). If the permit is reissued
                            for year 5, conduct protocol presence surveys for the listed species to determine any
                            occupancy. Focused surveys will be conducted in accordance with United States Fish and
                            Wildlife Service approved survey protocols.
                       iii. Conduct comparison of upper reaches of East Twin Creek and other accessible,
                            proximal, and approved sub-watershed (control site) at same elevation points in
                            watershed as well sites/monitoring stretches in Strawberry Creek.

      3)     Goals:
               a. The magnitude, duration, and/or timing of annual extreme flows (low/base and/or high)
                  do not significantly depart from the natural hydrograph measured at control sites.
                  [Indicates an Impaired rating for Flow Characteristics under Watershed Condition
                  Classification protocol.]
               b. Benthic macroinvertebrate (providing base of food chain to riparian dependent wildlife
                  resources): diversity and abundance supported by base flows measured in East Twin
                  Creek watershed or other approved control sites are maintained at the minimum
                    70 percent level by the 6.25 gpm and 20 gpm initial minimum flows in the diversion sub­
                    watershed. [Indicates an Impaired rating for Life Form Presence under Watershed Condition
                    Classification protocol.]
               c.   No more than 25 percent of diversion sub-watershed channel length has width-to-depth
                    ratios greater than the control sites. [Indicates an Impaired rating for Channel Shape
                    and Function under Watershed Condition Classification protocol.]
               d. Native vegetation is vigorous, healthy and diverse in age, structure, cover and
                  composition on 75 percent or more of the riparian/wetland areas in the diversion
                  sub-watershed where extraction is taking place compared to the control sites.
                  [Indicates an Impaired rating for Riparian Vegetation under Watershed Condition
                  Classification protocol.]
      4)    Actions:
                a. In support of goals (a through d), Permittee will conduct a study to determine the
                   appropriate actions to support the Objective and to characterize the relationship
                   between the diversion points and the stated goal metric criteria. The study will
                   continue for the duration of the 3-year permit and will include evaluation of riparian
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                      conditions relative to diversion points. The study will include reduction and/or stopping
                      extraction at the diversion point closest to measurement reach as set forth in goals (a
                      through d) above or other diversion points determined in consultation with SBNF and
                      may include other actions to support the Objective. Additional actions will be defined in
                      collaboration with SBNF technical specialists. The study will:
                           i. Evaluate the connectedness magnitude, duration, and/or timing of base flow
                              relative to the goal conditions.
                          ii. Evaluate effect of diversions on benthic macroinvertebrate diversity and
                              abundance in Strawberry Canyon relative to control study sites.
                          iii. Evaluate effect of diversions on the rooting depth of the riparian dependent
                               vegetation, water availability to woody species and other vegetation during
                               periods of changed water flow such as shut-in and turn-out periods and may
                               incorporate other actions to support the stated Objective.
                          iv. Evaluate effect of diversions on vegetation conditions and will include
                              assessment of vigor, health and age diversity, structure, cover, and
                              composition relative to diversions as described by the Watershed Condition
                              Classification standards and may include other actions to support the
                              Objective.
      5)     Monitoring:
               a.   Base flow maintenance levels are to be maintained and measured in the low flow periods
                    until sufficient fall/winter rainfall raises the level to a non-base flow level based on gaging
                    in control watershed.
               b. Benthic macroinvertebrate diversity and abundance will be measured in Strawberry
                  Creek and the control watershed control sites at the same time (same day or week).
                  Data should be collected at strategic time intervals and locations with appropriate
                  protocols, avoiding taking data immediately following scouring flows, and matching the
                  substrate, spatial, and lateral components of the control watershed and focusing on
                  riffles rather than runs or pools.
               c.   Shallow groundwater monitoring piezometers (with data loggers) set back from the
                    channel to either side within the riparian corridor to measure wetted depth for
                    supporting riparian vegetation.
              d.    Monitor riparian vegetation health across the lateral extent of the survey reaches using
                    vegetative health indicators, determined through consultation with Forest Service
                    specialists, until goal is reached. Track water needs to reach this level and maintain
                    reduced extraction levels seasonally to maintain this level of vegetative health.




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 C. Objective 3 - Species Standards
        1)    LMP, Part 3, S11: When occupied or suitable habitat for a threatened, endangered,
              proposed,candidate or sensitive (TEPCS) species is present on an ongoing or proposed project
              site, consider species guidance documents (see Appendix H) to develop project-specific or
              activity-specific design criteria. This guidance is intended to provide a range of possible
              conservation measures that may be selectively applied during site-specific planning to avoid,
              minimize, or mitigate negative long-term effects on threatened, endangered, proposed, candidate,
              or sensitive species and habitat. Involve appropriate resource specialists in the identification of
              relevant design criteria and appropriate species lists. Include review of species guidance
              documents in fire suppression or other emergency actions when and to the extent practicable.

             LMP, Part 3, S24: Mitigate impacts of on-going uses and management activities onthreatened,
             endangered, proposed, and candidate species.

      2)     Monitoring components - determine potential of micro-riparian habitats from untapped
             springs and meadows to be used as reference point for determining restoration potential in
             Strawberry Creek watershed
               a. Investigate East Twin Creek and other accessible, proximal, and approved
                    sub-watershed to find untapped springs, and seeps both in upper areas (elevations similar to
                    diversions) and lower down (where increased groundwater pressure could be maintaining
                    these features).
                      i.    Document lateral/spatial extent of riparian vegetation and TEPCS plants and
                            wildlife on bi-yearly interval, years 2 and 4 of permit
                                   1. Conduct two focused plant surveys, during the targeted species
                                      blooming periods, in a methodical and organized manner to promote
                                      full coverage of the study areas. Surveys will be conducted during
                                      Year 2 and Year 4 to account for annual variations in precipitation.
                                   2. Conduct protocol surveys established for southwestern willow
                                      flycatcher, least bell's vireo, California gnatcatcher, Santa Ana speckled
                                      dace, and mountain yellow-legged frog.
                      ii.   Document wildlife diversity and abundance on annual interval for amphibians,
                            reptiles, birds, and mammal species. This includes documentation of invasive
                            species as part of Objective 4 Invasive Species Standards.
                                  1. Conduct diurnal and nocturnal amphibian and reptile daytime surveys.
                                  2. Conduct avian point counts to assess avian diversity and estimate
                                     population densities at the established sampling sites which consists of
                                     visual or vocal observations at the established locations.
                                  3. Conduct mammal tracking at the established sampling locations to
                                     determine what types of mammal species are present and potentially
                                     utilizing the area as a wildlife corridor. Utilize a motion sensitive digital
                                     wildlife camera at each study and control location, if feasible. Conduct
                                     acoustic monitoring to detect the presence of bats.




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                        iii. Measure rooting depth.
                        iv. Measure water availability to woody species.
                        v.   Measure sap flow.
                        vi. Measure groundwater levels.
                        vii. Conduct presence/absence surveys for special status wildlife and plant species
                             identified with habitat present; years 2 and 4 of permit.
                        viii. Identify spring discharge and surface water extent
                              1. Set movement cameras to document use of surface water by animals -
                                 monitoring for 1 week in spring, summer and fall quarters.
               b. AU types of monitoring in control watershed must be duplicated in diversion
                  sub-watershed.
      3)     Goals:
               a. From 70 percent or more of expected aquatic life forms and communities are present
                  relative to the presence observed at the control sites based on the potential found in
                  the East Twin Creek watershed. [Indicates a Functioning at Risk rating for Life Form
                  Presence under Watershed Condition Classification protocol.}
               b. No less than 70 percent of expected aquatic life forms and communities are present
                  relative to the presence observed at the control sites. [Indicates an Impaired rating for
                  Life Form Presence under Watershed Condition Classification protocol.)
      4)     Actions:
                a. In conjunction with SBNF technical specialists, evaluate the occurrence of species,
                   abundance and diversity conditions and establish appropriate goal metric criteria, and
                   actions to meet species standards, or take other actions to support the Objective.
                b. Once the appropriate metric criteria have been defined through scientific study, take
                   appropriate actions in consultation with SBNF technical specialists to protect riparian
                   resources including native special status vegetation and provide for wildlife habitat
                   linkages.

      5)   Monitor restoration of plant and animal communities on bi-annual basis.




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 D. Objective 4 - Invasive Species Standards
        1)    LMP Part 1. Goal 2.1: Reverse the trend of increasing loss of natural resources due to invasive
              species. Forest Service Manual (FSM) direction for Invasive Species Management is contained
              in FSM 2900, effective S December 2011. This direction sets forth National Forest System
              policy, responsibilities, and direction for the prevention, detection, control, and restoration of
              effects from aquatic and terrestrial invasive species.
        2)    Monitoring components - identify, quantify, and map existing occurrences of priority invasive
              plant and animal species within the project area and document with GIS polygon shapefiles or
              GPS coordinates.
                a. The priority invasive plant and animal list is to be based on species that are included in
                   the Cal IPC list of species considered to be High and Medium threat to ecological
                   systems and are not already ubiquitous throughout both the project area and the paired
                   watershed of East Twin Creek. This list will be compiled in consultation with USFS
                   botany and wildlife specialists.
               b. Map invasive weed species within the pipeline right-of-way, helicopter landing areas,
                  spring sites, study areas, and access routes. Prepare weed occurrence forms per species
                  and provide GPS coordinates for points and polygons of mapped weeds.
       3)    Goals:
               a.   Cover, quantity, or extent of current infestations are not increasing.
               b.   No new invasive species are identified.
       4)    Actions:
               a.   Prepare a Weed Management Plan, in cooperation with the Forest Service for survey,
                    prevention, reporting, controlling, and monitoring invasive plants and otherwise
                    non-native weed species found within the control and study areas. Strategies to prevent,
                    detect, and control those species will be discussed with the USFS. Hand-pullingand hand tools
                    (e.g., shovels, pulaskis, line trimmers) will be used to remove invasive weed species as
                    identified in the Weed Control Plan, included as Attachment B to this document. No use of
                    herbicides is planned or authorized.
               b.   Consult with USFS botany and biology specialists to determine the most effective
                    control/eradication methods allowed by agency policy and direction.
               c.   Initiate control as soon as possible within the time period for most effective treatment.
               d.   Remove biomass containing reproductive potential (root segments, seeds, or flowers
                    that could develop into viable seed) from project site and forest service land.
               e.   Provide yearly report of monitoring and control efforts including names of
                    workers/surveyors, date, method of control, and location.
      5)     Monitor and re-treat when necessary to control or eradicate identified invasive plant and
             animal infestations.




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                                                                                                                                                                    ACCESS GATE                                                                                                                     (STRAWBERRY
                                                                                                                                                                APPROXIMATELY 1 MILE                                                                                                                 TRUCK TRAIL)
                                                                                                                                                                     DOWN ROAD
                                                                                                                                                                  (ON PRIVATE LAND)




                                                                                                                                                                                                                                          Source: Esri, DigitalGlobe, GeoEye, Earthstar Geographics, CNES/Airbus DS, USDA, USGS,
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                                                                                                                                                               )      SPRING VAULT                                                                                                NESTLE WATERS NORTH AMERICA, INC.
                                                                                                                                                                                                                                                                                  SAN BERNARDINO, CALIFORNIA
                                                                                                                                                                                                                 USFS BOUNDARY
                                                                                                                                                                      ACCESS PATH
                                                                                                                                                                                              NOTES

                                                                                                                                                                      ABOVE GROUND PIPELINE   1. PLEASE REFERENCE AS-BUILT SURVEY ARROWHEAD MOUNTAIN
                                                                                                                                                                                                                                                                                  ARROWHEAD SPRINGS PIPELINE
                                                                                                                                                                                              WATER PIPELINE BY HILLWIG-GOODROW, LLC FOR PRECISE                                  WITHIN SAN BERNARDINO
                                                                                                                                                                      BURIED PIPELINE         INFRASTRUCTURE DIMENSIONS AND LOCATIONS.                                            NATIONAL FOREST
                                                                                                                                                                                              2. PIPELINE DEPICTED ON THIS FIGURE IS SHOWN ON AS-BUILT SURVEY
                                                                                                                                                                                              ARROWHEAD MOUNTAIN WATER PIPELINE SHEETS 2 THROUGH 19.                              SCALE: AS SHOWN
                                                                                                                                                                                                                                                                                  AUGUST 2015                         EXHIBIT B
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                                                                                     March 2022

 HYDROLOGIC DATA COLLECTION PLAN FOR ARROWHEAD SPRINGS
 San Bernardino National Forest Special Use Permit No. FCD728502
 Triton Water Holdings, Inc. (BlueTriton Brands) (Permittee)


 1.        SCOPE
 Special Use Permit No. FCD 728502 (SUP) was issued for operation of water conveyance infrastructure
 through the San Bernardino National Forest (SBNF) and incorporates an Adaptive Management Plan
 (AMP) which establishes Objectives for management of forest resources related to the SUP. The
 purpose of the AMP is to facilitate collection of data and completion of analyses describing the
 relationship between the permitted facilities and forest resources identified in the AMP.

 The AMP includes metric criteria associated with Objectives 1 (Water Standards) and 2 (Riparian
 Standards) that specify surface water flow goals at two locations within Strawberry Canyon. The flow
 criteria and locations are:
          6.25 gallons per minute (gpm) at the location of water right application A6108; and
          20 gpm at the main branch of Strawberry Creek, immediately above the confluence with East
           Strawberry Creek.

 This document describes planned hydrologic data collection associated with these criteria.


 2.        6.25 GPM CRITERION
 Water right application A6108, as referenced in the AMP, pertains to a spring water diversion location
 originally developed by State of California Department of Public Works, Division of Highways and used
 for recreational use. This diversion was later transferred to the United States Forest Service and was
 reported to be in use for firefighting as recent as 2007, and to fill firefighting tanks and support wildlife
 since that time. The diversion consists of one horizontal boring (SBNF horizontal boring) and a small
 hand excavated depression near the boring that may also have been used for collecting water. The
 depth and date of completion of the horizontal boring are unknown. The horizontal boring is located up
 gradient of the spring site referred to as 1, 1A & 8, which is operated by Permittee. The planned
 hydrologic data collection is described below.

 2.1     USFS Boring Hydrologic Data Collection
       1. Measure flow from the SBNF horizontal boring;
       2. Measure flow in channel below the SBNF horizontal boring;
       3. Record water level at piezometer installed near SBNF horizontal boring.

2.2 Determination of more applicable upper watershed monitoring location

Studies performed under the AMP have conclusively shown that current operations of boreholes 1, 1A,
and 8 cannot affect flow at the USFS POD A6108. Per AMP Objective 1, Goal 3) b. ii. monitoring has shown
the need for adjustment. Studies (FDA compliance, dye testing) also indicate a connection between
operations at boreholes 1, 1A, and 8 and the Spring 4 location. As the new upper watershed monitoring
location and minimum flow value are determined, the following hydrologic data collection will occur:


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 HYDROLOGIC DATA COLLECTION PLAN FOR ARROWHEAD SPRINGS
 San Bernardino National Forest Special Use Permit No. FCD728502
 Triton Water Holdings, Inc. (BlueTriton Brands) (Permittee)

      1. Measure flow from the Spring 4 pool via piezometer/stilling well
      2. Measure flow in the channel immediately below Spring 4
      3. Measure the continuity of flow between Spring 4 and other upper canyon flow measurement
         locations
      4. Measure the flow of the channel at FL-1, FL-2, FL-4, and FL-5


 3.        20 GPM CRITERION
 The 20 gpm criterion described in the AMP represents a flow value and location postulated by SBNF to
 bear a relationship to operation of the permitted infrastructure in Strawberry Canyon. Studies conducted
 under the 2019 AMP (per Objective 1, 4) a. ii.) focused on the postulated connections with boreholes 10,
 11, 12, and 7, 7A, 7B, 7C, which are located 1 or more miles upcanyon from the confluence with the main
 channel. Studies have not yet tested the postulated connection with the operations at Tunnel 2 or
 Tunnel 3. The planned hydrologic data collection is described below.

 3.1     20 gpm Hydrologic Data Collection
       1. Measure creek flow at monitoring station TR-BF-XS-6.
       2. Record water level at the Meadows North and Meadows South piezometers.
       3. If/when flow at TR-BF-XS-6 falls below 20 gpm, stop extraction at Tunnel 2 and Tunnel 3,
          measure the released volumes at these Tunnel locations, and track the response of the channel
          for all upper and lower canyon monitoring locations. These releases will continue until the
          minimum instream flow condition is achieved from precipitation or water returned to the
          channel from locations upgradient of TR-BF-XS-43.




 4.        ADDITIONAL DATA COLLECTION
 In addition to the data collection described above, Permittee will provide a monthly summary of water
 collection at each water collection point. These points include:
       1. In Strawberry Canyon: FL-1, FL-2, FL-4, FL-5, TR-BF-XS-6, 18, 28, 43, 49
       2. In East Twin Creek: TL1, 2, 3, 4
       3. In West Fork City Creek: CL1, 2, 3, 4, 5


 5.        SCHEDULE
 Hydrologic data will be collected and reported on a minimum monthly basis to the permit administrator.




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 WEED MANAGEMENT PLAN
 For Activities Associated with San Bernardino National Forest
 Special Use Permit No. FCD728502
 Triton Water Holdings, Inc. (BlueTriton Brands) (Permittee)



 1. SCOPE

 The Permittee operates and maintains a spring water collection system and water conveyance pipeline
 located in the San Bernardino National Forest (SBNF). Spring water collection infrastructure includes a
 total of ten horizontal boreholes located within four spring vaults and two spring water collection
 tunnels. The aggregate length of the pipeline covered under this permit is approximately 4.5 miles.
 The Permittee operates five communication sites associated with the spring complexes and pipeline.
 The communication sites are co-located with the spring vaults and are operated for the purpose of
 transmitting monitoring data describing system performance and security information.

 This Weed Management Plan (Plan) describes measures and best management practices (BMPs) that
 will be implemented by the Permittee and its contractors to survey, prevent, report, control and
 monitor noxious and invasive plant species in accordance with Adaptive Management Plan (AMP)
 associated with Special Use Permit (SUP) No. FCD728502. The Project Area includes the pipeline right-
 of-way (ROW), approximately 5 feet wide, points of diversion, a 30-foot survey buffer along creek
 channels within the study area (15 feet on each side of stream), access trails to 7a and confluence within
 U.S Forest Service (USFS) managed lands, helicopter landing areas, and spring sites.

 The purpose of this Plan is to identify weed control and abatement methods or practices, as well as to
 recommend treatment timing for all areas along the ROW where weeds could establish. The
 management practices and activities in this Plan are intended to accomplish the invasive species
 objectives identified in the AMP.

 2. RESPONSIBILITY

     a. Permittee Representative

  Role                  Responsibility                      Contact
  Springs               Responsible for project             Springs Resource: Tam Pham (909-229-1650) or
  Representative        execution and oversight             Springs Manager: Larry Lawrence (714-812-4814)



 3. MONITORING

 The Permittee will monitor and control weeds to prevent establishment and limit the spread of
 localized invasive plant species throughout the Project work area. Qualified botanists (subject to
 approval of the USFS Officer) will survey the area that may be impacted by the Permittee’s operations
 and maintenance activities to identify and record all non-native invasive plant species. Qualified
 botanists will have a minimum of 2 years’ experience identifying native and non-native plant species
 common in San Bernardino County and will have a working knowledge of dichotomous keys (e.g.,
 Baldwin et al. 2012) or be able to consult with a more experienced botanist on a regular basis for any
 unknown species. The Project Area should be surveyed every year for the duration of the SUP to
 identify and map these species prior to the need for emergency repairs to prevent spread of these
 aggressive species to adjacent land or downstream.


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 WEED MANAGEMENT PLAN
 For Activities Associated with San Bernardino National Forest
 Special Use Permit No. FCD728502
 Triton Water Holdings, Inc. (BlueTriton Brands) (Permittee)



 3.1   Mapping

 Botanists will map invasive weed species on an annual basis within the Project Area. Mapping of
 invasive weed species will begin in March in order to allow sufficient time for the maintenance crews to
 mobilize and treat weeds prior to seed set. Additional occurrences of weed populations may be noted
 when conducting other survey/monitoring efforts in the Project Area.

 Weed infestations of priority weeds rated as having potentially “high” or “moderate” ecological impacts
 as rated by the California Invasive Plant Council (Cal-IPC) that are within the Project Area or along travel
 routes near the Project Area will be hand treated or flagged for treatment at the appropriate time of
 year according to the species present.

 Mapping of all invasive weed species will occur as described above; however, active control is not
 necessary for invasive plant species that are already ubiquitous throughout the local area. Invasive plant
 species that fall into this category include:
                  •   Hirschfeldia incana (short-pod mustard);
                  •   Bromus diandrus (rip-gut brome);
                  •   Bromus madritensis subsp. rubens (red brome);
                  •   Bromus tectorum (cheat grass);
                  •   Melilotus albus (white sweet clover);
                  •   Avena fatua (wild oats); and
                  •   Erodium sp. (stork’s bill).

 For each species, the botanists will prepare a USDA Forest Service Weed Occurrence Form, a SBNF
 Non-Native Plant Eradication Form, and provide Global Positioning System (GPS) coordinates for points
 and polygons of mapped weeds. Data including maps, GPS coordinates, and forms will be provided to
 USFS within 45 days of the mapping effort.

 3.2 Weed Control Treatments

 Priority invasive weeds that are within the project area or along travel routes near the project area will be
 manually removed or “flagged and avoided” according to the species present and project constraints.
 Treatment recommendations for potentially occurring invasive weed species are included in Table 1. Prior
 to treatment a weed control plan documenting species to be treated, map of location, acreage, and control
 methods to be used will be submitted to the USFS for approval by the line officer and resource specialists.

 As of current mapping, priority invasive weed species known from the project area include, bull thistle
 (Cirsium vulgare), pampas grass (Cortaderia selloana), Himalayan blackberry (Rubus armeniacus), and
 Spanish broom (Spartium junceum). A weed control plan for these species should be submitted to the USFS
 for approval. Himalayan blackberry may be controlled where feasible – Site 9 and if this species appears in
 other sites where it is not currently mapped – Sites 2, 4, 5, 6, 7, and 7 Alternative.


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 WEED MANAGEMENT PLAN
 For Activities Associated with San Bernardino National Forest
 Special Use Permit No. FCD728502
 Triton Water Holdings, Inc. (BlueTriton Brands) (Permittee)



 When priority invasive weed species are found within the project area control efforts will be undertaken
 immediately following approval of the weed control plan submitted to the USFS.
 For each species treated, the botanists will prepare a USDA Forest Service Weed Occurrence Form, an SBNF
 Non-Native Plant Eradication Form, and provide Global Positioning System (GPS) coordinates for points and
 polygons of treated weeds. Data including maps, GPS coordinates, and forms will be provided to USFS
 within 45 days of the treatment effort.

 4. CONTROL MEASURES BY SPECIES

 Table 1. Potentially occurring weed species and specific weed control measures by species.

                                       Table 1. Weed Control Measures by Species
                                                                      Cal-IPC
    Scientific          Common            Growth       Bloom       Invasiveness
     Name                Name              Type        Period         Rating1      Treatment Recommendations
 ANNUAL GRASSES
                                                                                   Hand pulling small infestations;
                      slender wild        Annual                                   string trimming large
 Avena barbata                                        Mar - Jun      Moderate
                          oat              Grass                                   infestations. If seed is ripe,
                                                                                   bag and solarize onsite.
                                                                                   Hand pulling or string trimming
                                          Annual                                   in early spring before seed
 Bromus diandrus     rip-gut brome                    Apr - Jun        High
                                           Grass                                   ripens. If seed is ripe, bag and
                                                                                   solarize onsite.
                                                                                   Hand pulling or string trimming
 Bromus
                                          Annual                                   in early spring before seed
 madritensis           red brome                      Feb - Mar        High
                                           Grass                                   ripens. If seed is ripe, bag and
 subsp. rubens
                                                                                   solarize onsite.
                                                                                   Hand pulling or string trimming
                                          Annual                                   in early spring before seed
 Bromus tectorum       cheat grass                    May - Jun        High
                                           Grass                                   ripens. If seed is ripe, bag and
                                                                                   solarize onsite.
                                                                                   Hand pulling or string trimming
                                          Annual                                   in spring before seed ripens. If
 Festuca myuros       rattail fescue                 Feb - May       Moderate
                                           Grass                                   seed is ripe, bag and solarize
                                                                                   onsite.
                                                                                   String trimming in spring
 Schismus            Mediterranea         Annual
                                                      Mar - Apr       Limited      before seed ripens. If seed is
 barbatus              n grass             Grass
                                                                                   ripe, bag and solarize onsite.
 PERENNIAL GRASSES
                                                                                   Hand pull younger plants. Giant
                                                                                   reed can also be dug using hand
Arundo donax           giant reed                     Mar-Sep          High        tools, in combination with
                                         Perennial                                 cutting near the base of the
                                           Grass                                   plant. Care must be taken to



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                                                                             remove the entire rhizome and
                                                                             dispose of properly off site.




                                                                             Hand pulling of seedlings;
                                                                             remove mature plants with
 Cortaderia                           Perennia
                      pampas grass                 Sep - Mar       High      shovels and Pulaskis. Plants
 selloana                              l Grass
                                                                             should be bagged and solarized
                                                                             onsite.
                                                                             Hand pull small plants; uproot
 Pennisetum                           Perennia                               large plants with Pulaskis.
                     fountain grass                 Jul - Aug    Moderate
 setaceum                              l Grass                               Plants should be bagged and
                                                                             solarized onsite.
                                                                             Hand pulling of seedlings or
 Stipa miliacea                       Perennia
                       smilo grass                 Mar - Sep      Limited    plants. Plants should be
 var. miliacea                         l Grass
                                                                             bagged and solarized onsite.




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                                           Table 1. Weed Control Measures by Species
                                                                            Cal-IPC
    Scientific             Common             Growth       Bloom         Invasiveness
      Name                  Name               Type        Period           Rating1        Treatment Recommendations
 HERBS
                                                                      Newer invasive       Hand pulling is an effective
                                                                      species to           strategy for control, particularly
                                                                      California.          with small or newly formed
                                                                      Considered highly    populations. When the plants
                                                                      invasive and a       have bolted in the second
                                                                      priority for         growing season, the stem may
                                                                      control. The         be easily grasped and pulled;
                                                                      species has been     roots will usually come out
                                                                      collected in 2020    intact along with the stem.
Alliaria petiolata       garlic mustard        Herb       Apr-Jun     and 2021 from a      Because the fruit is
                                                                      small population     photosynthetic, if fruit
                                                                      in San Bernardino    development has started, plants
                                                                      National Forest in   should not be left on site or
                                                                      San Bernardino       hung from neighboring
                                                                      County.              vegetation as the fruits are well
                                                                                           known to continue to develop
                                                                                           and dehisce even while lying on
                                                                                           the ground, thus plants should
                                                                                           be bagged and taken off site.
                                                                                           Hand pull rosettes and small
                                                                                           plants; uproot large plants with
                                              Herb
 Brassica nigra          black mustard                    Apr - Jul       Moderate         Pulaski. Mow before seedpods
                                                                                           develop. Solarization onsite or
                                                                                           bag and solarize seedpods.
 Carduus                                                                                   Hand pull, till, or hoe before
 pycnocephalus                                                                             flowering; sever plant below
                         Italian thistle       Herb       Feb - Jun       Moderate
 subsp.                                                                                    soil surface. Plants should be
 pycnocephalus                                                                             bagged and solarized onsite.
                                                                                           Hand pull, till, or hoe before
 Centaurea                                                                                 flowering; sever plant below
                            tocalote           Herb       Apr - Aug       Moderate
 melitensis                                                                                soil surface. Plants should be
                                                                                           bagged and solarized onsite.
                                                                                           Hand pull after plants have
                                                                                           bolted but before seed set;
                          yellow star
Centaurea solstitialis                         Herb       May-Oct            High          sever plants 2 inches below
                            thistle
                                                                                           soil surface. Plants should be
                                                                                           bagged and solarized on site.
                                                                                           Hand pull before plants
                                                                                           produce viable seed, repeat up
Centaurea stoebe           spotted
                                               Herb        Jul-Sep           High          to three times a year. Sever
ssp. micranthos           knapweed
                                                                                           plant 2 to 4 inches below soil
                                                                                           surface. Plants should be



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                                                                                   bagged and solarized on site.




                                                                                   Young seedlings may be
                                                                  Moderate. New
                                                                                   controlled by cultivation.
Chondrilla juncea    skeleton weed      Herb        Jun-Jan      invasive found on
                                                                                   Frequent mowing may exhaust
                                                                       SBNF
                                                                                   root storage.
                                                                                   Hand pull, till, or hoe before
                                                                                   flowering; sever plant below
 Cirsium vulgare       bull thistle     Herb        Jun - Sep        Moderate
                                                                                   soil surface. Plants should be
                                                                                   bagged and solarized onsite.
                                                                                   Hand removal is
                                                                                   recommended for small
                                                                                   infestations. When pulling the
                                                                                   plants, dig down and remove
                                                                                   the entire taproot. Wear
                                                                                   gloves and wash hands after
                                                                                   working with poison-hemlock.
                                                                                   Manual control efforts can be
                                                                                   successful, but can cause soil
                                                                                   disturbance encouraging
 Conium                 poison-
                                          Herb       Apr-Jul         Moderate      further germination of seeds.
 maculatum              hemlock                                                    Solid carpets of hemlock
                                                                                   seedlings are not uncommon
                                                                                   following soil disturbance.
                                                                                   Cutting is ineffective; the
                                                                                   plants send up new seed
                                                                                   stalks in the same season the
                                                                                   cutting occurs. Establishment
                                                                                   of populations can be
                                                                                   prevented with repeated
                                                                                   cultivation and plowing.
                                                                                   With small infestations,
                                                                                   digging or hand-pulling before
                                                                                   flowering are effective
                                                                                   controls. When digging, sever
                                                                                   the root below the soil
                                                                                   surface. Mowing is often
                                                                                   ineffective because the root
Dipsacus fullonum      wild teasel        Herb      Apr-Aug          Moderate      crown will resprout and
                                                                                   flower after being cut.
                                                                                   Repeated mowing can be
                                                                                   effective but must be done
                                                                                   often enough to prevent
                                                                                   flowering regrowth. Tillage
                                                                                   effectively controls emerged
                                                                                   plants but can stimulate new



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                                                                                   germination.

 Erodium                                                                           Hand pull or till before fruits
                         Stork’s bill      Herb     Feb - Jun           Limited
 cicutarium                                                                        are ripe.
                                                                                   Hand chop small infestations.
                                                                                   Slashing before flowering may
Foeniculum vulgare         fennel          Herb     May-Sep         Moderate       kill plants. Plants can be dug
                                                                                   with hand tools to remove the
                                                                                   entire root.
                                                                                   Hand pull rosettes and small
                                                                                   plants; uproot large plants with
 Hirschfeldia            shortpod
                                           Herb     Jan - Dec       Moderate       Pulaski. Mow before seedpods
 incana                  mustard
                                                                                   develop. Solarization onsite or
                                                                                   bag and solarize seedpods.
                                                                                   Hand pull, till, or mow before
 Lactuca serriola      prickly lettuce     Herb     May - Sep             NL       flowering. Plants should be
                                                                                   bagged and solarized onsite.
                                         Herb                                      Seedlings are easily controlled
                                                                                   by hand-pulling or tillage, but
                                                                                   these techniques do not control
                                                                                   established plants because
                                                                                   shoots quickly resprout from
                                                                                   vast root reserves. In addition,
                         perennial                                                 seedlings are not often
                                                                                   encountered. Root segments as
Lepidium latifolium       pepper-                 Jun-Sep        High
                                                                                   small as 1 inch are capable of
                            weed                                                   producing new shoots.
                                                                                   Cultivation and tillage typically
                                                                                   increase infestations by
                                                                                   dispersing root fragments. Clean
                                                                                   equipment after tillage to
                                                                                   prevent spreading root
                                                                                   fragments.
 Linaria dalmatica                                                                 Hand pull seedlings before
                         dalmatian
   ssp. dalmatica                          Herb     Apr-Sep         Moderate       plants become established.
                          toadflax
                                                                                   Hand pull when soil is moist;
                        bird’s-foot
 Lotus corniculatus                        Herb     May - Jul             NL       remove the up to 3-inch long
                           trefoil
                                                                                   taproot to prevent resprouting.
                                                                                   Hand pull plants before seed
                                                                     High. New
                                                                                   set. Plants should be bagged and
Oncosiphon pilulifer     stink net         Herb      Mar-Jul     invasive found on
                                                                                   solarized on site.
                                                                       SBNF

                                                                                   Remove plants at least 2 inches
                                                                                   below the soil surface with
 Rumex crispus           curly dock        Herb     Jan - Dec           Limited
                                                                                   shovels. Plants should be
                                                                                   bagged and solarized onsite.



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                                                                             Hand pull, dig, or grub. Care
                                                                             must be taken to remove entire
Saponaria officinalis   bouncing-bet     Herb       Jun-Sep       Limited    root as plant can resprout from
                                                                             rhizomes.

                                                                             Hand pull rosettes and small
                                                                             plants; uproot large plants with
 Sisymbrium               tumble
                                        Herb        May - Jul       NL       Pulaski. Mow before seedpods
 altissimum               mustard
                                                                             develop. Plants should be
                                                                             bagged and solarized onsite.




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                                      Table 1. Weed Control Measures by Species
                                                                      Cal-IPC
     Scientific         Common           Growth       Bloom        Invasiveness
      Name               Name             Type        Period          Rating1      Treatment Recommendations
                                                                                  Hand pull rosettes and small
                                                                                  plants; uproot large plants with
 Sisymbrium irio      London rocket       Herb       Jan - Apr      Moderate      Pulaski. Mow before seedpods
                                                                                  develop. Solarization onsite or
                                                                                  bag and solarize seedpods.
                                                                                  Hand pull, till, or hoe before
 Sonchus asper         prickly sow                                                flowering; sever plant below
                                          Herb       Feb - Oct         NL
 subsp. asper             thistle                                                 soil surface. Plants should be
                                                                                  bagged and solarized onsite.
                                                                                  Hand pulling, tillage, or hoeing,
 Tanacetum                                                                        or repeated mowing. Plants
                        feverfew          Herb       Jun - Aug         NL
 parthenium                                                                       should be bagged and solarized
                                                                                  onsite.
                                                                                  Hand pulling, tillage, or hoeing
                                                                                  is effective. Mowing is not
 Trifolium hirtum      rose clover        Herb       Feb - Mar      Moderate      recommended. Plants should
                                                                                  be bagged and solarized
                                                                                  onsite.
                                                                                  Hand pull or till before seed
 Verbascum                                                                        set. Repeated mowing in
                      woolly mullein      Herb       Mar - Sep       Limited
 thapsus                                                                          bolting/early flowering can
                                                                                  reduce seed production.
 SHRUBS, VINES, AND TREES
                                                                                  Hand pull seedlings or small
                                                                                  saplings; use Pulaski or weed
                                                                                  wrench for large trees. Care
Ailanthus altissima   tree of heaven       Tree        Jun          Moderate
                                                                                  must be taked to extract entire
                                                                                  root or stump sprouting will
                                                                                  occur.
                                                                                  Manual removal of plants,
                                                                                  including roots and rhizomes,
                                                                                  before viable seed develops
                                                                                  can help control infestations in
                                                                                  areas where plants are
                                                                                  accessible. Removing all plant
                                                                                  material from the site will help
Delairea odorata       German ivy          Vine      Nov-Mar          High        prevent rerooting of rhizomes,
                                                                                  stolons, or stem fragments.
                                                                                  Follow-up removal of
                                                                                  resprouts is essential. In some
                                                                                  large patches, all stems can be
                                                                                  cut at ground level and Cape-
                                                                                  ivy rolled up like a rug.
                                                                                  Although the belowground



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                                                                             reproductive tissues will
                                                                             resprout, this strategy makes it
                                                                             possible to detect and spot-
                                                                             treat new sprouts while
                                                                             avoiding contact with
                                                                             desirable vegetation.
                                                                             Hand pull seedlings or small
                                                                             saplings; use Pulaski or weed
Elaeagnus                                                                    wrench for large trees. Care
                      Russian olive      Tree       May-Jun      Moderate
angustifolia                                                                 must be taked to extract entire
                                                                             root. Girdling can kill older
                                                                             trees.
                                                                             Hand pull or hoe seedlings; use
                                                                             Pulaski or shovel to remove
                                                                             small trees, removing the
 Ficus carica           edible fig       Tree       Mar - Apr    Moderate
                                                                             roots. Girdling or repeated
                                                                             cutting to ground level may kill
                                                                             large trees.
                                                                             Hand pull seedings. Pull vines
                                                                             climbing into trees and along
                                                                             the ground by hand or with
                                                                             rakes. Cut woody stems with
 Hedera helix          English ivy       Vine      May – June      High      pruners or loppers and dig up
                                                                             the roots with a shovel to
                                                                             prevent resprouting. Plants
                                                                             should be bagged and solarized
                                                                             onsite.




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                                     Table 1. Weed Control Measures by Species
                                                                     Cal-IPC
     Scientific         Common          Growth       Bloom        Invasiveness
      Name               Name            Type        Period          Rating1      Treatment Recommendations
                                                                                 Hand pull seedlings or small
                                                                                 saplings; use Pulaski or weed
                                                                                 wrench for large shrubs.
                                                                                 Girdle or cut trees. Cut close
 Nicotiana glauca     tree tobacco       Shrub      Mar - Sep      Moderate
                                                                                 to ground with chainsaw at
                                                                                 end of dry season; resprouting
                                                                                 may occur. Repeat for several
                                                                                 seasons.
                                                                                 For individual plants, it is
                                                                                 possible to remove by digging.
                                                                                 Smaller plants can be hand
                                                                                 pulled, although it is
                                                                                 important to wear gloves, as
                                                                                 castor bean is poisonous. Even
                                                                                 larger plants can be removed
                                                                                 by hand pulling in wet sandy
                                                                                 soils. It is important to remove
Ricinus communis       castorbean     Shrub/Tree     All year       Limited
                                                                                 the bulk of the root crown to
                                                                                 prevent regeneration. Weed
                                                                                 wrenches can be a very
                                                                                 effective tool for small to
                                                                                 medium-sized plants with a
                                                                                 single stem. This is much more
                                                                                 effective in moist soils. In dry
                                                                                 soils the plant can break off
                                                                                 and leave the root system.
                                                                                 Remove canes, roots, and root
 Rubus                 Himalayan         Shrub/                                  crowns with a Pulaski or
                                                    Apr - Aug        High
 armeniacus            blackberry         Vine                                   shovel. Remove before fruit
                                                                                 production.
                                                                                 Hand pull seedlings or small
                                                                                 shrubs; pull large shrubs with
                        Spanish                                                  weed wrench or Pulaski;
 Spartium junceum                        Shrub      Apr - Jun        High
                        broom                                                    remove roots to prevent
                                                                                 resprouting. Soil disturbance
                                                                                 can stimulate seedbank.




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                                                                                  Hand pull seedlings or small
                                                                                  shrubs; pull large shrubs with
                                                                                  weed wrench or Pulaski;
                                                                                  remove roots to prevent
 Tamarix                                                                          resprouting. Cutting or girdling
                            saltcedar           Tree   Apr - Aug      High
 ramosissima                                                                      will only suppress, not
                                                                                  eradicate infestations.
                                                                                  Resprouts from root crown or
                                                                                  plant fragments, so remove
                                                                                  entire plant.
 Notes:
  Cal-IPC = California Invasive Plant Council



 5. BEST MANAGEMENT PRACTICES

 The following policies have been adopted by the USFS to manage National Forest Service lands. The
 Permittee and its contractors will, as applicable, prevent the introduction and spread of weed species in
 the Project Area by using the following USFS-policy BMPs.

 5.1       Determine the vectors, environmental factors, and pathways that favor the establishment and
           spread of invasive species.
       •    Determine the vectors, environmental factors, and pathways that favor the establishment and
            spread of invasive weeds in National Forest lands and implement BMPs to reduce or mitigate
            the risk for introduction or spread of weeds in those areas (Table 1).
       •    Determine the risk of introducing, establishing, or spreading weeds associated with
            implementing weed management activities, as an integral component of project planning and
            analysis (Table 1).
       •    Prevent the introduction of weeds from outside National Forest Service lands, as far as it is
            practical and within their control (Table 1).
       •    When setting priorities for treating weed infestations, consideration will be given to the rate of
            spread, the likeliness of environmental harm resulting from the establishment and spread,
            geography within the watershed, potential to impact sensitive or endangered species, and the
            probability that the treatment(s) will be successful (Table 1).
       •    Develop and utilize site-based and species-based risk assessments to prioritize the management
            of weeds (Table 1). This Plan complies with this policy.
       •    All equipment used for weed management activities and off-road equipment will be cleaned
            prior to entering USFS land to prevent the introduction and spread of weed seeds into the
            Project Area.
       •    Minimize the amount of ground and vegetation disturbance during construction and
            maintenance.



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 5.2       Design management practices to reduce or mitigate the risk for introduction or spread of
           invasive species.
       •     Ensure that all weed management activities are designed to minimize or eliminate the possibility
             of establishment or spread of weeds on National Forest lands or to adjacent areas (Table 1).
       •     The proposed action includes Resource Protection Criteria and this Weed Management Plan
             subject to USFS approval will be part of the Permittee’s SUP. These criteria are intended to
             reduce the potential for introduction and/or spread of invasive weeds during implementation of
             this project. Resource protection criteria included in the proposed action and AMP will reduce
             but not eliminate the risks of introduction of weeds or of spreading existing weed infestations
             (Table 1).

 5.3       Prevent the accidental spread of invasive species carried by contaminated vehicles, equipment,
           personnel, or materials.
       •     Make every effort to prevent the accidental spread of weeds carried by contaminated vehicles,
             equipment, personnel, or materials (Table 1).
       •     All off-road equipment will be cleaned prior to entering NFS land. The cleaning measures must
             be practical, verifiable, and not cause other unacceptable environmental problems. Depending
             on the nature of the debris, the equipment may be cleaned using water or mechanical
             methods (brushing, scraping, prying), compressed air, high-pressure water, or steam. This
             includes wheels, tires, buckets, stabilizers, undercarriages and bumpers.
       •     Use only weed-free equipment, mulches, and seed sources. Salvage topsoil from project area for
             use in onsite revegetation, unless contaminated with weeds. All activities that require seeding
             must utilize locally collected native seed sources when possible. Plant and seed material should
             be collected from or near the project area, from within the same watershed, and at a similar
             elevation when possible. This requirement is consistent with the USFS Region 5 policy that
             directs the use of native plant material for revegetation and restoration for
             maintaining “the overall national goal of conserving the biodiversity, health, productivity, and
             sustainable use of forest, rangeland, and aquatic ecosystems.” Seed mixes must be approved by
             a Forest Service botanist.
       •     Minimize the amount of ground and vegetation disturbance during construction and
             maintenance.

 5.4       Make every effort to ensure that all materials are free of invasive species; use materials
           certified as weed-free (or invasive-free) when possible.
       •     All gravel, fill, erosion control, or other materials used in the Project Area including gravel will be
             weed-free and subject to review and approval by the USFS line officer with input from
             appropriate resource specialists (Table 1).
       •     Salvage topsoil from project areas for backfill or on-site revegetation.




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 5.5       Monitor all management activities for potential spread or establishment of invasive species.
       •    Routinely monitor weed control efforts to determine success and to evaluate the need for
            follow-up treatment or different control measures. Monitor known infestations as appropriate
            in order to determine changes in density and rate of spread (USFS 2005a; 2005b).

 5.6       Manage invasive species using an integrated pest management (IPM) approach.
       •    Initiate, coordinate, and sustain actions to prevent, control, and eliminate priority infestations of
            weeds of the Project Area using an IPM approach (Table 1).
       •    Manage weeds in the Project Area using an IPM approach to assist the USFS with achieving their
            goals and objectives identified in Forest Land and Resource Management plans and other USFS
            planning documents (Table 1).

 6. ADAPTIVE MANAGEMENT

 The Permittee understands the goal of this Plan is to identify weed control and abatement methods
 within all areas of ground disturbance along the ROW where weeds could establish. Although BMPs
 for treating and preventing the spread of invasive weed species have been discussed above, continued
 monitoring and an adaptive management approach will allow for flexibility and modifications if
 necessary. As part of the weed management strategy, the Permittee will:
       •    Provide Environmental Awareness Training for work crews;
       •    Implement avoidance and minimization measures to prevent the spread of weeds; and
       •    Adapt to changing conditions with alternative control methods, if needed and in coordination
            with the USFS, depending on the treatment response, site specific conditions, etc.

 7. COMMUNICATION

 Data, including maps and GPS coordinates of invasive weed locations, as well as USDA Forest Service
 Weed Occurrence Forms, SBNF Non-Native Plant Eradication Forms (one form per species) will be
 provided to USFS within 45 days of each annual mapping effort. the Permittee will keep in close
 communication with the USFS to provide updates on any new weed populations observed or the need for
 additional control measures.

 8. ANNUAL REPORTING

 The Permittee will prepare an annual report (in addition to the 45-day reports for mapping and
 treatment) summarizing the weed control efforts and results from that year as part of compliance with
 the SUP and this Plan. The annual reports will include:
       •    A description of the monitoring and control efforts that occurred during the prior calendar year
            including names of workers/surveyors, dates of activity, methods of control, species treated,
            and locations of treatment.




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     •   Maps, USDA Forest Service Weed Occurrence Forms and SBNF Non-Native Plant Eradication
         Forms depicting locations of invasive weeds will be included as appendices.
     •   A determination of relative quantities/densities of invasive weed populations within the Project
         Area and whether population densities seem to be stable, increasing, or decreasing.
     •   Recommendations for additional avoidance and minimization measures to prevent the spread
         of weeds.




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 WEED MANAGEMENT PLAN
 For Activities Associated with San Bernardino National Forest
 Special Use Permit No. FCD728502
 Triton Water Holdings, Inc. (BlueTriton Brands) (Permittee)


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 WATER CONSERVATION PLAN FOR ARROWHEAD SPRINGS
 San Bernardino National Forest Special Use Permit No. FCD728502
 Triton Water Holdings, Inc. (BlueTriton Brands) (Permittee)


 1.        SCOPE
 Special Use Permit No. FCD 728502 (SUP) is an authorization for operation of water conveyance
 infrastructure through the San Bernardino National Forest (SBNF). This document describes water
 conservation measures associated with this permit.

 2.        WATER CONSERVATION MEASURES
 BlueTriton Brands has prioritized responsible water stewardship and supports efforts to improve water
 use patterns. Key objectives include lowering overall water use intensity thereby increasing water use
 efficiency. The planned water conservation measures implemented in Strawberry Canyon are described
 below.

 2.1     Metered Water Flows
       1. Borehole and tunnel flows,
              a. Report monthly summary of flows from each borehole and tunnel.
       2. Strawberry Creek discharge,
              a. System overflow is diverted to a location on Strawberry Creek below 10, 11 and 12 site.
              b. Report monthly summary of flows from this location.

 2.2     Water System Overflow Management

       1. When the water silos are full, Permittee will divert available overflow to the Strawberry
          Creek discharge location.
       2. If overflow is expected to be greater than 50 gpm for more than 90 days, Permittee will identify
          water collection points for shut in or turn-out depending on the infrastructure, for that period of
          time.

 2.3      Water System Maintenance
       1. Permittee will repair damage or correct errors resulting in water-loss such as water system
          control, pipe breaks, or other leaks in a timely manner.
       2. Permittee will verify meter performance on an annual basis.
       3. Malfunctioning meters will be correct in in a timely manner.


 3.        SCHEDULE
 Metering data will be reported on a minimum monthly basis.



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